             Case 1:23-cv-00783-DII Document 25 Filed 09/13/23 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 COALITION FOR INDEPENDENT
 TECHNOLOGY RESEARCH,

                 Plaintiff,

        v.                                                 Civil Action No. 1:23-cv-783

 GREG ABBOTT, in his official capacity as
 Governor of the State of Texas, et al.,

                 Defendants.


             PLAINTIFF’S RESPONSE IN OPPOSITION TO MOTION TO STAY

       Plaintiff the Coalition for Independent Technology Research (“Coalition”) respectfully

urges the Court to deny Defendant’s motion to stay, ECF No. 22, which asks the Court to defer

consideration of Plaintiff’s motion for a preliminary injunction, ECF No. 20, pending the Court’s

resolution of Defendant’s motion to dismiss, ECF No. 21. Rather than stay the request for a

preliminary injunction, the Court should do what courts routinely do in these circumstances—have

the parties brief the motion for a preliminary injunction and the motion to dismiss in parallel, and

on a briefing schedule that accounts for the fact that the first of these motions is a request for

immediate relief.

       Defendants’ argument that the Court should stay the preliminary injunction motion is

meritless. The Coalition’s motion is predicated on sworn allegations that Texas’s TikTok ban is

causing the Coalition’s members’ injuries that are ongoing and irreparable. To stay or significantly

delay the resolution of the Coalition’s motion would defeat the whole purpose of Rule 65(a), which

is to ensure that plaintiffs can obtain “quick” relief. See Fed. Sav. & Loan Ins. Corp. v. Dixon, 835

F.2d 554, 558 (5th Cir. 1987); see also Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir.
           Case 1:23-cv-00783-DII Document 25 Filed 09/13/23 Page 2 of 5




1985). And Defendants have not explained how the Court’s prompt resolution of the Coalition’s

motion would prejudice them. Of course, there is a sense in which Defendants would be prejudiced

by the entry of preliminary relief, but it hardly needs to be said that this is not the kind of prejudice

that would justify a stay of the Coalition’s request.

        Defendants also argue that a stay of the preliminary injunction motion is necessary because

some of them are immune from suit, and because the Coalition lacks standing to seek relief for

public university faculty at universities other than the University of North Texas (“UNT”). ECF

No. 22 at 3. Defendants’ jurisdictional objections are misguided,1 and (more to the point) these

objections have no bearing at all on the question of whether the preliminary injunction motion

should be stayed. All of the jurisdictional objections the Defendants identify can be raised in

opposition to the Coalition’s motion for preliminary relief. If the motion to dismiss is briefed in

parallel with the preliminary injunction motion, the jurisdictional questions will be presented in

the briefs relating to that motion as well. And no one is suggesting that the Court should reach the

merits without first assuring itself of jurisdiction. If the parties brief the motions in parallel, and

the Court addresses them together, the Court will surely address jurisdictional questions before it

addresses the merits.2


   1
     The Coalition will refrain from engaging with the Defendants’ arguments about jurisdiction
and the merits, since the Court does not need to address these to resolve the procedural question
presented here. But one important factual mistake cannot be left uncorrected. Defendants say that
the Coalition “did not allege that it has members at Texas universities other than UNT.” ECF No.
22 at 3. In fact, the Coalition has alleged that “Texas’s TikTok ban has imposed significant burdens
on Coalition members at multiple public universities in Texas.” Compl. ¶ 46, ECF No. 1; see also
Zuckerman Decl. ¶ 28, ECF No. 20-1 (“[T]here are Coalition members at multiple universities in
Texas whose research and teaching are burdened by the ban.”).
   2
     It is worth noting—even if this is not directly relevant to the procedural question now before
the Court—that Defendants concede that the UNT Chancellor is a proper defendant, and that the
Coalition has standing to seek relief for faculty at UNT. ECF No. 22 at 3; ECF No. 21 at 9–10.
The Court will reach the merits, in other words, even if all of Defendants’ Rule 12(b)(1) arguments
are correct. And Defendants’ Rule 12(b)(6) arguments are not likely to dispose of the case, either.

                                                   2
           Case 1:23-cv-00783-DII Document 25 Filed 09/13/23 Page 3 of 5




       The case Defendants cite for the proposition that the Court is required to stay a motion for

preliminary relief in these circumstances, ECF No. 22 at 3, says no such thing. That case, Russell

v. Jones, 49 F.4th 507, 514–15 (5th Cir. 2022), was about discovery and has no application to the

issues presented here. Indeed, it is routine for parties, in circumstances like these, to brief

preliminary injunction motions and motions to dismiss in parallel. See, e.g., Fund Texas Choice v.

Paxton, No. 1:22-CV-859, 2023 WL 2558143 (W.D. Tex. Feb. 24, 2023) (resolving motion to

dismiss on standing and sovereign immunity grounds and request for preliminary injunction

together); Amawi v. Pflugerville Indep. Sch. Dist., 373 F. Supp. 3d 717 (W.D. Tex. 2019) (same);

see also NetChoice, LLC v. Paxton, 573 F. Supp. 3d 1092 (W.D. Tex. 2021) (resolving motion to

dismiss for lack of standing and request for preliminary injunction together).

       Finally, Defendants’ alternative request that the Court afford them four times the period

contemplated by the local rules to respond to the Coalition’s motion should also be rejected. See

Local Rule CV-7(d)(2). As an initial matter, it is not true that the Coalition was slow to file suit,

or to move for preliminary relief. The Coalition commenced this suit four weeks after Texas

codified its TikTok ban, see Compl. ¶ 39, ECF No. 1, and it filed its preliminary injunction

motion—with four declarations, including two expert declarations—eight weeks after that, see

ECF No. 20. While the Coalition does not oppose a modest extension of the time within which

Defendants must oppose the preliminary injunction motion, the six-week extension that

Defendants are requesting is totally inappropriate given that this is (again) a request for immediate

relief predicated on allegations of irreparable injury, the Coalition has not sought discovery, and,



As courts have repeatedly recognized, it is “rarely, if ever, appropriate” to dismiss a First
Amendment challenge at the pleading stage. See, e.g., Bruni v. City of Pittsburgh, 824 F.3d 353,
357 (3d Cir. 2016) (noting that factual development is generally “indispensable to an assessment
of whether [a challenged law] is constitutionally permissible”); Cornelio v. Connecticut, 32 F.4th
160, 173–74 (2d Cir. 2022) (same).

                                                 3
           Case 1:23-cv-00783-DII Document 25 Filed 09/13/23 Page 4 of 5




what’s more, Defendants have already briefed most or all of the issues presented in this case in

their motion to dismiss and eight-page motion for a stay.3

       For all of these reasons, the Coalition urges the Court to deny Defendants’ motion. Rather

than stay the motion for a preliminary injunction, the Court should order the parties to brief that

motion and the motion to dismiss in parallel, on a briefing schedule that accounts for the fact that

the first of these motions is a request for immediate relief. The Coalition respectfully proposes that

the Court order the following schedule, which contemplates that both parties will have four weeks

in total to file opposition briefs and two weeks to file reply briefs:

         1.      Plaintiff to file its opposition to Defendants’ motion to dismiss and Defendants to

 file their opposition to Plaintiff’s motion for a preliminary injunction on October 5, 2023.

         2.      Plaintiff to file a reply in support of its motion for a preliminary injunction and

 Defendants to file a reply in support of their motion to dismiss on October 19, 2023.



 Dated: September 13, 2023                             Respectfully submitted,

  /s/ Peter B. Steffensen                               /s/ Jameel Jaffer
 Peter B. Steffensen                                   Jameel Jaffer (Pro Hac Vice)
 Texas Bar No. 24106464                                Ramya Krishnan (Pro Hac Vice)
 SMU Dedman School of Law First                        Xiangnong Wang (Pro Hac Vice)
   Amendment Clinic                                    Knight First Amendment Institute
 P.O. Box 750116                                         at Columbia University
 Dallas, TX 75275                                      475 Riverside Drive, Suite 302
 (214) 768-4077                                        New York, NY 10115
 psteffensen@smu.edu                                   (646) 745-8500
                                                       jameel.jaffer@knightcolumbia.org

                                                       Counsel for Plaintiff


   3
     It is also open to the Court, of course, to stay Defendants’ motion to dismiss pending its
resolution of the Coalition’s request for a preliminary injunction. Indeed, because the issues
overlap so significantly—indeed, almost totally—there is a good argument that proceeding this
way would be most efficient.

                                                   4
          Case 1:23-cv-00783-DII Document 25 Filed 09/13/23 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of September, 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:

       Todd A. Dickerson

       Office of the Attorney General of Texas

       P.O. Box 12548-Capitol Station

       Austin, TX 78701


 Dated: September 13, 2023                         /s/ Jameel Jaffer
                                                  Jameel Jaffer (Pro Hac Vice)
                                                  Knight First Amendment Institute
                                                    at Columbia University
                                                  475 Riverside Drive, Suite 302
                                                  New York, NY 10115
                                                  (646) 745-8500
                                                  jameel.jaffer@knightcolumbia.org

                                                  Counsel for Plaintiff




                                                 5
